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                   15
                                             UNITED STATES DISTRICT COURT
                   16
                                            CENTRAL DISTRICT OF CALIFORNIA
                   17
                   18   STACE CHEVEREZ, individually            Case No. 2:15-cv-04113-PSG-JEM
                        and on behalf of others similarly
                   19   situated,                               [Consolidated with Case Nos. 2:15-cv-
                                                                04440-PSG-JEM, 2:15-cv-04573-PSG-
                   20                  Plaintiff,               JEM, 2:15-cv-04759-PSG-JEM, 2:15-
                                                                cv-04989-PSG-JEM, 2:15-cv-05118-
                   21   v.                                      PSG-JEM]

                   22   PLAINS ALL AMERICAN                     MEMORANDUM OF POINTS AND
                        PIPELINE, L.P., a Delaware limited      AUTHORITIES IN SUPPORT OF
                   23   partnership                             MOTION TO DISMISS PURSUANT
                                                                TO FEDERAL RULE OF CIVIL
                   24                  Defendant.               PROCEDURE 12(b)(6)

                   25                                           Date:        February 29, 2016
                                                                Time:        1:30 p.m.
                   26                                           Judge:       Hon. Philip S. Gutierrez
                                                                Courtroom:   880
                   27
                   28

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                    1                                   I. INTRODUCTION
                    2          This complex, consolidated putative class action litigation arises out of an
                    3   accidental crude oil release in Santa Barbara County, California, on May 19, 2015,
                    4   when a pipeline owned by Defendant Plains Pipeline L.P. (“Plains Pipeline”),
                    5   known as Line 901, unexpectedly leaked. Plaintiffs originally filed seven separate
                    6   putative class action suits against Plains Pipeline and its parent company
                    7   (collectively, “Defendants”) on behalf of various classes.
                    8          After receiving permission from the Court to file a consolidated action on
                    9   November 9, 2015, Plaintiffs filed their “Consolidated Amended Class Action
                   10   Complaint” (“Consolidated Complaint”) on December 15, 2015, therein defining
                   11   their putative class as all persons and businesses in the United States that claim
                   12   economic losses, or damages to their occupations, businesses, and/or property as a
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                   13   result of the Line 901 release. Plaintiffs’ Consolidated Complaint asserts eleven
                   14   claims for relief.
                   15          This Motion to Dismiss focuses on six of Plaintiffs’ claims and seeks this
                   16   Court’s dismissal of each one of them as required by law, a process that will greatly
                   17   streamline the pleadings before the parties embark on discovery, class certification
                   18   briefing, and other litigation tasks. As detailed herein, each of these six claims
                   19   should be dismissed under Rule 12(b)(6)1 of the Federal Rules of Civil Procedure
                   20   for failure to state a claim. Generally stated, the reasons for dismissing these six
                   21   claims are summarized as follows:
                   22          •      Unfair Competition Law (“UCL”) (Fourth Claim): Plaintiffs have
                   23                 not pled facts establishing a right to restitution, the only monetary
                                      remedy available under the UCL.
                   24
                   25          •      Negligence Per Se (Fifth Claim): Plaintiffs are precluded from
                                      asserting this as a separate, standalone claim under California law.
                   26
                   27   1
                         All further references to “Rule” or “Rules” are to the Federal Rules of Civil
                   28   Procedure unless otherwise noted.
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                    1          •      Negligent Interference with Prospective Economic Advantage
                    2                 (Seventh Claim): Plaintiffs have not pled specific, existing
                                      economic relationships that are required to state this claim.
                    3
                    4          •      Nuisance Per Se (Tenth Claim): Plaintiffs have failed to identify
                                      an express legislative declaration that the activity or circumstance
                    5                 at issue constitutes a nuisance.
                    6          •      Public Nuisance (Sixth Claim) and Injunctive Relief (Eleventh
                    7                 Claim): The injunctive relief sought through these claims is
                                      expressly preempted by the federal Pipeline Safety Act. The
                    8
                                      relief is also conflict preempted by the Oil Pollution Act of 1990.
                    9
                   10   For these reasons, and others discussed more fully herein, Defendants respectfully
                   11   request that the Court dismiss the Fourth, Fifth, Sixth, Seventh, Tenth, and Eleventh
                   12   claims for relief.
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                   13                                 II. LEGAL STANDARD
                   14          To survive a motion to dismiss under Rule 12(b)(6), a plaintiff must plead
                   15   “enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic
                   16   Corp. v. Twombly, 550 U.S. 544, 570 (2007); see also Ashcroft v. Iqbal, 556 U.S.
                   17   662, 678 (2009). Claims for relief are plausible only when the plaintiff alleges facts
                   18   sufficient to “allow[] the court to draw the reasonable inference that the defendant
                   19   is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. Factual allegations
                   20   need not be detailed in most cases, but “must be enough to raise a right to relief
                   21   above the speculative level.” Twombly, 550 U.S. at 555. “Where a complaint
                   22   pleads facts that are ‘merely consistent with’ a defendant’s liability, it stops short of
                   23   the line between possibility and plausibility of ‘entitlement to relief.’” Iqbal, 556
                   24   U.S. at 678 (internal citations omitted). Moreover, a “plaintiff’s obligation to
                   25   provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and
                   26   conclusions, and a formulaic recitation of the elements of a cause of action will not
                   27   do.” Id. In other words, [t]hreadbare recitals of the elements of a cause of action,
                   28   supported by mere conclusory statements, do not suffice.” Id.
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                    1                                     III. ARGUMENT
                    2   A.    Plaintiffs Fail to State a UCL Claim Because They Have Not Alleged
                              Facts Establishing a Right to Restitution or Disgorgement of Profits
                    3         (Fourth Claim).
                    4         Plaintiffs seek “awards of restitution and/or disgorgement” of profits in
                    5   connection with their UCL claim. (Compl. at p. 60; see also id. ¶ 319.) Plaintiffs
                    6   have not alleged facts that would entitle them to either form of relief; thus, their
                    7   UCL claim should be dismissed pursuant to Rule 12(b)(6).
                    8         1.     Plaintiffs Do Not Have a Requisite Ownership Interest Sufficient
                                     to Support a Claim for Restitution.
                    9
                   10         “While the scope of conduct covered by the UCL is broad, its remedies are
                   11   limited.” Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1152
                   12   (2003) (citation omitted). Indeed, “restitution is the only monetary remedy
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                   13   expressly authorized by . . . [the UCL].” Id. at 1146. “The object of restitution is
                   14   to restore the status quo by returning to the plaintiff funds in which he or she has an
                   15   ownership interest.” Id. An “order for restitution is one ‘compelling a UCL
                   16   defendant to return money obtained through an unfair business practice to those
                   17   persons in interest from whom the property was taken, that is, to persons who
                   18   had an ownership interest in the property or those claiming through that
                   19   person.’” Id. at 1149 (citations omitted) (emphasis added).
                   20         Plaintiffs have failed to allege facts suggesting that they or the putative class
                   21   have any ownership interest in the profits of Plains Pipeline or its parent company.
                   22   Plaintiffs do “not allege that [Defendants] took money or property directly from
                   23   [Plaintiffs], nor do Plaintiffs “claim a vested interest in the money” they seek to
                   24   recover. Ice Cream Distributors of Evansville, LLC v. Dreyer's Grand Ice Cream,
                   25   Inc., 487 F. App’x 362, 363 (9th Cir. 2012). As a result, “[a]ny award that
                   26   [Plaintiffs] would recover from [Defendants] would not be restitutionary as it
                   27   would not replace any money or property that [Defendants] took directly from
                   28   [Plaintiffs].” Korea Supply, 29 Cal. 4th at 1152 (italics added).
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                    1         “At bottom, Plaintiffs are essentially seeking damages, not the return of
                    2   money in which they have an identifiable property interest.” Nat’l Rural
                    3   Telecommunications Co-op. v. DIRECTV, Inc., 319 F. Supp. 2d 1059, 1082 (C.D.
                    4   Cal. 2003). Damages, however, “are simply not available under the UCL.” Ice
                    5   Cream Distributors, 487 F. App’x 362, 363 (9th Cir. 2012); see also In re First All.
                    6   Mortgage Co., 471 F.3d 977, 998 (9th Cir. 2006) (explaining that the “remedies
                    7   provided under the UCL do not include the monetary relief”). Because Plaintiffs
                    8   have not alleged a cognizable basis for restitutionary relief under the UCL, this
                    9   claim should be dismissed.
                   10         2.     Plaintiffs Cannot Recover Non-Restitutionary Disgorgement of
                                     Profits in a Class Action under the UCL.
                   11
                   12         Plaintiffs also seek disgorgement of profits, which in light of the analysis
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                   13   above, would be non-restitutionary in nature. In Korea Supply, 29 Cal. 4th 1134,
                   14   the California Supreme Court granted review to decide “whether disgorgement of
                   15   profits allegedly obtained by means of an unfair business practice is an authorized
                   16   remedy under the UCL where these profits are neither money taken from a plaintiff
                   17   nor funds in which the plaintiff has an ownership interest.” Id. at 1140. The Court
                   18   began its analysis by noting that “the remedy of nonrestitutionary disgorgement is
                   19   not expressly authorized by the statute….” Id. at 1146. The Court also found that
                   20   the language of the UCL “indicates that the Legislature intended to limit the
                   21   available monetary remedies under the act.” Id. at 1148. Consequently, the Court
                   22   concluded that “disgorgement of such profits is not an authorized remedy in an
                   23   individual action under the UCL.” Id. at 1140.
                   24         While Korea Supply applied to individual actions brought under the UCL, its
                   25   reasoning is equally controlling to UCL claims in a class action as confirmed by
                   26   subsequent case law. For example, in Madrid v. Perot Sys. Corp., 130 Cal. App.
                   27   4th 440 (2005), the plaintiff sought to pursue a class action lawsuit alleging claims
                   28   for violation of the unfair competition law. Id. at 455. Similar to here, the plaintiff
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                     1   could not establish the requisite ownership interest. In an attempt to work around
                     2   this shortcoming, the plaintiff argued that “because he filed the lawsuit as a class
                     3   action . . . he is entitled to pursue nonrestitutionary disgorgement of wrongfully
                     4   obtained profits, because ‘fluid recovery’ of disgorgement is a remedy available in
                     5   class actions.”2 Id. at 459. Analyzing the case law, the court recognized that Cruz
                     6   v. PacifiCare Health Systems, Inc., 30 Cal. 4th 303, 318 (2003) noted in “dictum”
                     7   that “[i]t may be the case that under the UCL, a class action would allow for
                     8   disgorgement into a fluid recovery fund.” Madrid, 130 Cal. App. 4th at 460 (italics
                     9   added). The court thus recognized that “[a]n open question exists as to the
                    10   availability of nonrestitutionary disgorgement in a properly certified UCL class
                    11   action.” Id.
                    12         After extensively analyzing the issue, the court ultimately rejected the
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                    13   plaintiff’s argument, concluding that nonrestitutionary disgorgement into a fluid
                    14   recovery fund is not allowed in the class action context. Specifically, the court
                    15   explained that “[t]he UCL is a substantive statute and the class action statute [Cal.
                    16   Civ. Proc. Code § 384] is a procedural device for collectively litigating substantive
                    17   claims.” Id. at 461. In other words, “[f]luid recovery in class actions . . . is merely
                    18   a method of paying out damages after they have been awarded.” Id. (internal
                    19   citations omitted). “Thus, the use of the class action vehicle to litigate a UCL claim
                    20   does not expand the substantive remedies available.” Id.
                    21         Additional case law agrees. For example, in Feitelberg, the plaintiff argued,
                    22   notwithstanding the holding in Korea Supply, that “nonrestitutionary disgorgement
                    23   is available in class actions.” Feitelberg, 134 Cal. App. 4th at 1017. The court
                    24   disagreed and concluded that Korea Supply’s rationale controls “regardless of the
                    25   nature of the UCL proceeding as a class action.” Id. at 1020. Indeed, although
                    26
                         2
                    27    “The term ‘fluid recovery’ refers to the application of the equitable doctrine of cy
                         prés in the context of a modern class action.” Feitelberg v. Credit Suisse First
                    28   Boston, LLC, 134 Cal. App. 4th 997, 1015 (2005) (internal citations omitted).
                                                                    5
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                     1   “there is another statute in play here, which specifically permits fluid recovery in
                     2   class actions – section 384 of the Code of Civil Procedure,” that “procedural
                     3   provision does not override the substantive remedial provisions of the unfair
                     4   competition law.” Id. Simply stated, “[t]he tail does not wag the dog.” Id.
                     5         Therefore, because Plaintiffs cannot recover non-restitutionary-disgorgement
                     6   in this class action, the UCL claim should be dismissed.
                     7   B.    Negligence Per Se Is Not a Distinct Cause of Action (Fifth Claim).
                     8         Separate from their negligence claim, Plaintiffs assert a standalone cause of
                     9   action for negligence per se. However, negligence per se is not a separate cause of
                    10   action under California law. See Carson v. Depuy Spine, Inc., 365 F. App’x 812,
                    11   815 (9th Cir. 2010). Instead, the “doctrine of negligence per se . . . creates an
                    12   evidentiary presumption that affects the standard of care in a cause of action for
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                    13   negligence.” Lynam v. Nationstar Mortgage LLC, No. 15-CV-00992-DMR, 2015
                    14   WL 3863195, at *4 (N.D. Cal. June 19, 2015) (emphasis in original). Because
                    15   California recognizes negligence per se only as an evidentiary presumption, and not
                    16   a separate cause of action, this standalone claim should be dismissed from the
                    17   Consolidated Complaint. Segura v. Wells Fargo Bank, N.A., No. CV-14-04195-
                    18   MWF AJWX, 2014 WL 4798890, at *14 (C.D. Cal. Sept. 26, 2014) (granting a
                    19   motion to dismiss without leave to amend because negligence per se is not a
                    20   separate and distinct claim for relief under California law).
                    21   C.    Plaintiffs Fail to State a Claim for Negligent Interference with
                               Prospective Economic Advantage Because They Have Not Identified Any
                    22         Specific, Pre-Existing Economic Relationships (Seventh Claim).
                    23         “The tort of negligent interference with prospective economic advantage is
                    24   established where a plaintiff demonstrates that (1) an economic relationship existed
                    25   between the plaintiff and a third party which contained a reasonably probable future
                    26   economic benefit or advantage to plaintiff; (2) the defendant knew of the existence
                    27   of the relationship and was aware or should have been aware that if it did not act
                    28   with due care its actions would interfere with this relationship and cause plaintiff to
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                     1   lose in whole or in part the probable future economic benefit or advantage of the
                     2   relationship; (3) the defendant was negligent; and (4) such negligence caused
                     3   damage to plaintiff in that the relationship was actually interfered with or disrupted
                     4   and plaintiff lost in whole or in part the economic benefits or advantage reasonably
                     5   expected from the relationship.” N. Am. Chem. Co. v. Superior Court, 59 Cal. App.
                     6   4th 764, 786 (1997).
                     7         The Consolidated Complaint alleges that “Plaintiffs and the Class have
                     8   existing or prospective economic relationships with citizens of Santa Barbara
                     9   County, visitors to Santa Barbara County, and other individuals and organizations
                    10   doing business in and related to Santa Barbara County.” (Compl. at ¶ 340.)
                    11   Plaintiffs, however, fail to identify any specific, pre-existing customer relationships,
                    12   which is a prerequisite to state a claim for negligent interference with prospective
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                    13   economic advantage under California law. See SunPower Corp. v. SolarCity Corp.,
                    14   No. 12-CV-00694-LHK, 2012 WL 6160472, at *15 (N.D. Cal. Dec. 11, 2012)
                    15   (dismissing claim for negligent interference with prospective economic advantage
                    16   because the plaintiff failed to identify “any specific customer relationship with
                    17   which [defendant] interfered”). Although Plaintiffs allege that they and the putative
                    18   class have economic relationships with Santa Barbara County citizens, visitors and
                    19   businesses, the loss of unspecified “as yet unknown” third parties is insufficient.
                    20   See Blank v. Kirwan, 39 Cal. 3d 311, 330 (1985). “Without an existing relationship
                    21   with an identifiable” third party, any purported expectation is “at most a hope for an
                    22   economic relationship and a desire for future benefit.” See Westside Ctr. Associates
                    23   v. Safeway Stores 23, Inc., 42 Cal. App. 4th 507, 527 (1996). Simply put, the
                    24   alleged “conduct must have interfered with a specific existing relationship, not
                    25   simply with the formation of one in the future.” Id. Accordingly, the seventh claim
                    26   for relief should be dismissed for failure to state a claim.
                    27   ///
                    28
                                                                     7
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                     1   D.    Plaintiffs Fail to State a Claim for Nuisance Per Se Because They Have
                               Not Identified the Requisite Legislative Declaration and Premised this
                     2         Claim on a Statute that Does Not Contain a Private Right of Action
                               (Tenth Claim).
                     3
                     4         A “nuisance per se arises when a legislative body with appropriate
                     5   jurisdiction, in the exercise of the police power, expressly declares a particular
                     6   object or substance, activity, or circumstance, to be a nuisance.” Beck Dev. Co. v.
                     7   S. Pac. Transp. Co., 44 Cal. App. 4th 1160, 1206 (1996). To “rephrase the rule, to
                     8   be considered a nuisance per se the object, substance, activity or circumstance at
                     9   issue must be expressly declared to be a nuisance by its very existence by some
                    10   applicable law.” Id. at 1207; see also Jones v. Union Pac. R.R. Co., 79 Cal. App.
                    11   4th 1053, 1068 (2000) (“To support a claim of nuisance per se, plaintiffs must point
                    12   to a statutory provision that declares [the] alleged conduct a nuisance.”).
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                    13         In their Consolidated Complaint, Plaintiffs allege Defendants discharged
                    14   crude oil into the Pacific Ocean and onto the California coastline, and assert that the
                    15   resulting contamination constitutes a continuing nuisance within the meaning of
                    16   California Water Code Section 13050(m), and Section 3479 of California Civil
                    17   Code. (Compl. ¶ 373.) Plaintiffs’ reliance on these two provisions is misplaced.
                    18         Civil Code section 3479 generally describes “what constitutes a nuisance.”
                    19   The statute does not expressly declare that oil contamination constitutes a nuisance.
                    20   Therefore, this statute cannot serve as the predicate for a nuisance per se claim. See
                    21   Beck, 44 Cal. App. 4th at 1206; Jones, 79 Cal. App. 4th at 1068.
                    22         The same is true of Water Code section 13050(m). That statute provides that
                    23   a nuisance means anything which effectively meets the definition of a private and
                    24   public nuisance under Civil Code sections 3479 and 3480, and occurs during, or as
                    25   a result of, the treatment or disposal of wastes. Cal. Water Code § 13050(m).
                    26   “Waste” is defined to include “sewage and any and all other waste substances,
                    27   liquid, solid, gaseous, or radioactive, associated with human habitation, or of
                    28   human or animal origin, or from any producing, manufacturing, or processing
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                     1   operation, including waste placed within containers of whatever nature prior to, and
                     2   for purposes of, disposal.” Id. at § 13050(d). Accordingly, Water Code section
                     3   13050 also does not expressly declare oil contamination a nuisance.
                     4         California courts have reached the same conclusion. In Beck Development,
                     5   44 Cal. App. 4th 1160, the plaintiff argued (and the trial court agreed) that oil
                     6   contamination constitutes a nuisance pursuant to Water Code section 13050(m).
                     7   The appellate court reversed, finding that assertion “unavailing because the Water
                     8   Act does not declare the circumstances existing on the property to be a nuisance
                     9   without the need for further inquiry.” Id. at 1208. The appellate court further
                    10   explained that Water Code section 13050(m) “does not expressly declare anything
                    11   to be a nuisance by its very existence; rather, it incorporates the general factual
                    12   inquiry relating to and defining nuisances, limits its application to public nuisances,
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                    13   and establishes additional limiting factors.” Id. Accordingly, the appellate court
                    14   concluded “that reliance upon the Water Act does not support a finding of nuisance
                    15   per se.” Id. at 1207. This Court should find the same.
                    16   E.    Plaintiffs’ Claims for Public Nuisance and Permanent Injunction Are
                               Preempted by Federal Law (Sixth and Eleventh Claims).
                    17
                               1.     Plaintiffs Seek Injunctive Relief Relating to Pipeline Safety and
                    18                Operation that Is Expressly Preempted by the Pipeline Safety Act.
                    19         Through their claims for public nuisance and permanent injunction, Plaintiffs
                    20   seek an injunction that would order Defendants to operate Line 901 and other
                    21   pipelines in California in accordance with unspecified “reasonable” safety
                    22   standards. (See Comp. ¶¶ 66-94, 337, 381, p. 60 ¶¶ B, G.) As discussed below, this
                    23   relief is expressly preempted by the Pipeline Safety Act.3
                    24
                         3
                    25     Four Acts provide the framework for the federal pipeline safety program,
                         collectively set forth at 49 U.S.C. § 60101 et seq.: (1) Natural Gas Pipeline Safety
                    26   Act of 1968 (Pub. Law 90-481 Aug. 12, 1968)); (2) Federal Pipeline Safety Act
                    27   consists of the Hazardous Liquid Pipeline Safety Act of 1979 (Pub. Law 96-129
                         (96th Cong. Nov. 30, 1979)); (3) Pipeline Inspection, Protection, Enforcement and
                    28   Safety Act of 2006 (Pub. Law 109-468 (109th Cong. Dec. 29, 2006)); and (4)
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                     1         State law is preempted to the extent Congress has expressly stated its intent
                     2   to supersede state law. Arizona v. United States, 567 U.S. ___, 132 S. Ct. 2492,
                     3   2500-2501 (2012); Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 95-98, 103 S. Ct.
                     4   2890, 2899-2901 (1983). To assess preemptive effect, courts “must in the first
                     5   instance focus on the plain wording of the clause, which necessarily contains the
                     6   best evidence of Congress’ preemptive intent.” CSX Transportation, Inc. v.
                     7   Easterwood, 507 U.S. 658, 664, 113 S. Ct. 1732, 1737 (1983).
                     8         In enacting the Pipeline Safety Act (hereinafter “PSA”), Congress gave the
                     9   Department of Transportation (hereinafter “DOT’) exclusive regulatory authority
                    10   over interstate pipeline safety.4 49 U.S.C. § 60102. Thus, the PSA leaves interstate
                    11   hazardous liquid5 pipelines “to exclusive Federal regulation and enforcement.” 49
                    12   C.F.R., Part 195, App. A (Delineation Between Federal and State Jurisdiction --
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                    13   Statement of Agency Policy and Interpretation). Specifically, the PSA provides: “a
                    14   State authority may not adopt or continue in force safety standards for interstate
                    15   pipeline facilities or interstate pipeline transportation.” 6 49 U.S.C. § 60104(c).
                    16   Importantly, this provision expressly applies to any standards that “may apply to
                    17
                    18   Pipeline Safety, Regulatory Certainty, and Job Creation Act of 2011 (Pub. Law
                         112-90 (112th Cong. Jan. 3, 2012)). These Acts are collectively referred to herein
                    19   as the “Pipeline Safety Act” or “PSA.”
                    20   4
                          In order to implement this interstate pipeline safety law, DOT has created
                    21   comprehensive regulatory scheme regarding pipeline safety. See 49 C.F.R., Part
                         195.
                    22   5
                           Crude oil is included within the definition of “hazardous liquid” for purposes of
                    23   the PSA and its implementing regulations. 49 C.F.R. § 195.2.
                         6
                    24     There are only two narrow exceptions. First, a state authority may enter into a
                    25   pipeline safety agreement with DOT that authorizes the state authority to participate
                         in the oversight of interstate pipeline facilities, 49 U.S.C. § 60106(a). Second,
                    26   DOT may delegate to a state agent the authority to conduct inspections of pipeline
                    27   operators and facilities to ensure compliance with federal safety standards, 49
                         U.S.C. § 60117(c). Clearly neither of these exceptions applies to the twenty-five
                    28   private individuals and businesses who filed this consolidated class action.
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                     1   the design, installation, inspection, emergency plans and procedures, testing,
                     2   construction, extension, operation, replacement, and maintenance of pipeline
                     3   facilities.” 49 U.S.C. § 60102(a)(2); Southern Cal. Gas Co. v. Occupational Safety
                     4   & Health Appeals Bd., 58 Cal. App. 4th 200, 204 (1997).
                     5         Both federal and California courts have confirmed that Congress intended to
                     6   encompass the entire field of interstate pipeline safety. Southern Cal. Gas, 58 Cal.
                     7   App. 4th at 204 (holding that “it was the ‘clear and manifest purpose of Congress’
                     8   to occupy the field” of interstate pipeline safety “in the broadest sense possible”);
                     9   ANR Pipeline Co. v. Iowa State Commerce Commission, 828 F.2d 465, 469-470
                    10   (8th Cir. 1987) (explaining “Congress intended to preclude states from regulating in
                    11   any manner whatsoever with respect to the safety of interstate transmission
                    12   facilities,” and in so doing, Congress has left “‘nothing to the states with respect to
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                    13   regulation and control’ of interstate pipeline safety”) (emphasis added); Olympic
                    14   Pipe Line Co. v. City of Seattle, 437 F.3d 872, 878 (9th Cir. 2006).
                    15         Line 901 is an interstate pipeline. (See Request for Judicial Notice.)
                    16   Therefore, the pipeline is subject to the PSA and the exclusive regulatory authority
                    17   of DOT. As a result, this Court cannot impose an injunction under California state
                    18   law requiring Defendants to adopt or implement any pipeline safety standards and
                    19   procedures proposed by Plaintiffs. See City & County of San Francisco v. U.S.
                    20   Dept. of Transportation, 796 F.3d 993, 1004 (9th Cir. 2015) (PSA “commits the
                    21   decision of what is ‘reasonably required’ to carry out a safety program to the
                    22   expertise of the Agency,” and a court has “no authority to compel agency action
                    23   merely because the agency is not doing something we may think it should do”).
                    24         In sum, Plaintiffs’ requested injunctive relief relating to the operation of the
                    25   Line 901 pipeline is expressly preempted. Preempted state law claims are subject
                    26   to dismissal without leave to amend under Rule 12(b)(6). Hill v. Opus Corp., 841
                    27   F. Supp. 2d 1070, 1103 (C.D. Cal. 2011) (finding leave to amend would be futile
                    28   given the court’s conclusion that the challenged claim was preempted by federal
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                     1   law); see Schreiber Distributing Co. v. Serv-Well Furniture Co., Inc., 806 F.2d
                     2   1393, 1401 (9th Cir. 1986) (leave to amend properly denied where additional fact
                     3   allegations will not cure the defect). Accordingly, this Court should dismiss with
                     4   prejudice the request for injunctive relief relating to the operation of Line 901.
                     5         2.     Plaintiffs Seek Injunctive Relief for Natural Resources Harm that
                                      Is Conflict Preempted by OPA.
                     6
                     7         Through their claims for public nuisance and permanent injunction, Plaintiffs
                     8   also seek an injunction ordering Defendants to remedy various alleged injuries to
                     9   natural resources (e.g. to restore fisheries) and to repair property values,
                    10   reputations, and tourism. (See Compl. at p. 60 ¶¶ B, G.) Because this relief directly
                    11   conflicts with the statutory scheme of the Oil Pollution Act of 1990 (“OPA”), this
                    12   relief is also preempted by federal law.
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                    13                  a.   OPA Grants Designated Governmental Natural Resources
                                             Trustees the Sole Authority and Discretion to Address Direct
                    14                       and Indirect Natural Resources Damages.

                    15         Plaintiffs seek to redress the same injuries defined under OPA as “natural
                    16   resource” damage. Under OPA, natural resource damage refers to injuries to
                    17   wildlife and habitat, as well as injuries or damages resulting from lost ability to use
                    18   those resources, which includes lost opportunities for use by the public (referred to
                    19   as “natural resource services”). See 33 U.S.C. § 2701(20); 15 C.F.R. § 990.30.
                    20         The goal of OPA “is to make the environment and the public whole for
                    21   injuries to natural resources and services resulting from an incident involving a
                    22   discharge or substantial threat of a discharge of oil.” 15 C.F.R. § 990.10. To
                    23   accomplish this goal, OPA and its implementing regulations provide a
                    24   comprehensive process for designated “representative natural resource trustees” to
                    25   restore injured public resources and services, and make the environment and the
                    26   public whole for interim losses. See 33 U.S.C. §§ 2702(b)(2)(A), 2706; 15 C.F.R.
                    27   §§ 990.10, 990.30. The natural resource trustees (“NRD Trustees”) consist of
                    28   government and Indian tribal representatives that own, manage, hold in trust, or
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                     1   otherwise control the injured natural resources, and “act on behalf of the public.”
                     2   33 U.S.C. § 2706(a), (b); 15 C.F.R. § 990.30.
                     3         OPA expressly limits the parties who may seek to remedy natural resources
                     4   harm to these NRD Trustees. See 33 U.S.C. §§ 2702(b)(2)(A). Individuals and
                     5   businesses (i.e., members of the general public) do not have standing to assert
                     6   claims for natural resource damages. 33 U.S.C. §§ 2702(b)(2)(A), 2706; see
                     7   generally In re Burbank Environmental Litigation, 42 F. Supp. 2d 976, 981 (C.D.
                     8   Cal. 1998) (dismissing private party claims for natural resource damages under
                     9   substantially similar natural resource damages provision of the Comprehensive
                    10   Environmental Response, Compensation, and Liability Act (CERCLA)).7
                    11         Under OPA, the NRD Trustees are required to assess the natural resources
                    12   damages resulting from an oil spill, to develop a plan for restoration of injured
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                    13   natural resources and services, and to pursue implementation or funding of the plan
                    14   by the responsible parties. 33 U.S.C. § 2706(c); 15 C.F.R. § 990.10. The statutory
                    15   and regulatory requirements applicable to natural resources damage assessments
                    16   and remedies are comprehensive. In brief, the applicable statutes and regulations
                    17   provide an administrative process for involving interested parties in the assessment,
                    18   which includes a range of procedures for identifying and evaluating injuries to
                    19   natural resources and services, and a means for selecting restoration actions from a
                    20   reasonable range of alternatives, including public review and comment on the draft
                    21   and final restoration plans. 15 C.F.R. §§ 990.10, 990.55.
                    22   7
                           Case law interpreting substantially similar CERCLA provisions is instructive in
                    23   the OPA context. As is the case with OPA, under CERCLA only natural resource
                    24   trustees acting on behalf of the federal government, the state, and certain Indian
                         tribes may bring an action for damages to natural resources. 42 U.S.C. § 9607(f).
                    25   In fact, these CERCLA regulations for assessing natural resource damages resulting
                    26   from hazardous substances releases, codified at 43 C.F.R. part 11, were the
                         precursor to the OPA regulations discussed in this motion. Thus, prior to February
                    27   5, 1996, the CERCLA regulations directly applied to natural resource damages
                    28   resulting from oil discharges. 15 C.F.R. § 990.20(a).
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                     1         Once a restoration plan has been developed, the responsible parties either
                     2   implement the plan or pay an estimate of the costs for implementation, measured by
                     3   “(A) the cost of restoring, rehabilitating, replacing, or acquiring the equivalent of,
                     4   the damaged natural resources; (B) the diminution in value of those natural
                     5   resources pending restoration; plus (C) the reasonable cost of assessing those
                     6   damages.” 33 U.S.C. § 2706(d)(1); 15 C.F.R. § 990.62. Any sums recovered for
                     7   natural resources damages are required under OPA to be retained by the NRD
                     8   Trustees “in a revolving account, without further appropriation, for use only to
                     9   reimburse or pay costs incurred by the trustee” to conduct the natural resources
                    10   damages assessment, and to develop and implement the natural resources damages
                    11   restoration plan referenced above. 33 U.S.C. § 2706(f). “Final authority to make
                    12   determinations regarding injury and restoration rest solely with the trustees.” 15
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                    13   C.F.R. § 990.14(c)(4) (emphasis added). 8
                    14                b.     Injunctive Relief Claims by Private Parties Directed at Natural
                                             Resources Restoration Conflict with OPA and Its Implementing
                    15                       Regulations.
                    16         Although only the NRD Trustees have the authority to make determinations
                    17   regarding natural resource damages and restoration, Plaintiffs attempt to usurp that
                    18   Congressionally-mandated role through their state law claims for public nuisance
                    19   and injunctive relief. However, state law claims are preempted to the extent they
                    20   conflict with federal statutes, regulations, or the Constitution. Mutual
                    21   Pharmaceutical Co., Inc. v. Bartlett, ___ U.S. ___, 133 S. Ct. 2466, 2473 (2013);
                    22   Arizona v. United States, 567 U.S. ___, 132 S. Ct. 2492, 2501 (2012). Conflict
                    23
                         8
                    24     Notably, this process is well underway regarding the Line 901 release. The NRD
                         Trustees for the Line 901 release are: (i) California Department of Fish and
                    25   Wildlife; (ii) California State Lands Commission; (iii) California Department of
                    26   Parks and Recreation; (iv) University of California; (v) U.S. Fish and Wildlife
                         Service; (vi) National Park Service; (vii) Bureau of Land Management; and (viii)
                    27   National Oceanic and Atmospheric Administration (“NOAA”) (collectively, “NRD
                    28   Trustees”).
                                                                    14
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                     1   preemption is found where it is “impossible for a private party to comply with both
                     2   state and federal requirements” or where state law “stands as an obstacle to the
                     3   accomplishment and execution of the full purposes and objectives of Congress.”
                     4   Freightliner Corp. v. Myrick, 514 U.S., 280, 287, 115 S. Ct. 1483, 1487 (1995)
                     5   (internal quotes omitted); Geier v. American Honda Motor Co. Inc., 529 U.S. 861,
                     6   873, 120 S. Ct. 1913, 1921 (2000).
                     7         The Supreme Court has observed that “conflict is imminent whenever two
                     8   separate remedies are brought to bear on the same activities.” Wisconsin Dept. of
                     9   Industry v. Gould, Inc., 475 U.S. 282, 286, 106 S. Ct. 1057 (1986); New Mexico v.
                    10   Gen. Elec. Co., 335 F. Supp. 2d 1185, 1226-27 (D.N.M. 2004) (noting that a
                    11   collision between state tort claims and a federal statutory and regulatory scheme
                    12   would appear “inevitable” if state tort claims could be used to remedy natural
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                    13   resource damages regardless of an ongoing administrative remedy because
                    14   “[r]egardless of the type of tort suit brought by plaintiffs, the defendant is required
                    15   by federal law . . . to comply with the methodology provided in the [agency’s
                    16   decision]”); see also Motor Coach Employees v. Lockridge, 403 U.S. 274, 287
                    17   (1971) (“Conflict in technique can be fully as disruptive to the system [of
                    18   centralized administration of specially designed procedures] Congress erected as
                    19   conflict in overt policy.”).
                    20         BP America Inc. v. Chustz, 33 F. Supp.3d 676 (M.D. La. 2014) is instructive.
                    21   That case, which involved the major Deepwater Horizon spill off the Gulf Coast,
                    22   involved numerous federal and state agencies working on spill response activities,
                    23   with the final, regulatory decision-making authority vested in the Federal On-Scene
                    24   Coordinator (“FOSC”). Id. at 679-680. In the course of that work, the FOSC
                    25   issued a decision regarding an anchor and vessel ramp. A Louisiana state agency
                    26   took issue with that decision, and issued a cease and desist order to BP. The order
                    27   directed BP to undertake various activities beyond what was directed by the FOSC,
                    28   including applying for a Coastal Use Permit to remove the offending anchor and
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                     1   ramp and to provide a recovery plan for all abandoned anchors and ramps. Id. at
                     2   680-681. The court found that this state order was preempted under principles of
                     3   conflict preemption “as these actions would ‘stand[] as an obstacle to the
                     4   accomplishment and execution of the full purposes and objectives of Congress’
                     5   through the CWA [Clean Water Act] and the OPA.” Id. at 696. The court observed
                     6   that the state order would interfere with the authority delegated to the FOSC to
                     7   direct all federal, state, and private actions to remove a substantial spill. Id. at 695.
                     8         As was the case in BP America, allowing Plaintiffs to maintain injunctive
                     9   relief claims to redress natural resource damage would frustrate the Congressional
                    10   goal in enacting OPA to “make the environment and the public whole for injuries to
                    11   natural resources and services resulting from an incident of involving . . . a
                    12   discharge of oil.” 15 C.F.R. § 990.10. Congress provided this discretion to the
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                    13   NRD Trustees, and it is their charge alone to exercise that discretion here. The
                    14   relief sought by Plaintiffs through their state law claims would inappropriately
                    15   disrupt OPA’s clear delineation of authority to the NRD Trustees to coordinate,
                    16   assess, and remedy natural resources harm.
                    17         In addition, the injunctive relief sought by Plaintiffs would require this Court
                    18   to make judgment calls regarding the appropriate actions for addressing natural
                    19   resources harm. OPA requires that these technically and scientifically complex
                    20   judgments be made by the NRD Trustees in compliance with a comprehensive
                    21   regulatory process, which includes public comment, compliance with the National
                    22   Contingency Plan, compliance with the National Environmental Policy Act and the
                    23   Council on Environmental Quality Regulations, and detailed assessment
                    24   procedures. 15 C.F.R. §§ 990.14, 990.21, 990.23, 990.27, 990.40-990.66.
                    25   Plaintiffs seek to circumvent this process, including the rights of the public to
                    26   participate in the decision-making process, and seek to substitute their own
                    27   judgment for the reasoned judgment of the NRD Trustees.
                    28   ///
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                     1         Moreover, if private parties could obtain state law injunctions requiring
                     2   natural resource injury assessment and response, Defendants could be potentially
                     3   subject to numerous injunctions that may impose varied and potentially conflicting
                     4   requirements, in addition to (and, again, almost certainly in conflict with) the
                     5   requirements imposed by the NRD Trustees. The NRD Trustees must be able to
                     6   comply with their duties under OPA without the interference of potentially
                     7   conflicting requirements and judgments relating to natural resources damages
                     8   imposed by courts in private suits. These conflicts further underscore the reason
                     9   Congress precluded individuals and businesses from seeking to remedy public
                    10   natural resources-related harms in OPA, and further demonstrate that Plaintiffs’
                    11   Sixth and Eleventh Claims are barred under conflict preemption principles.
                    12         In sum, Plaintiffs are not entitled to injunctive relief directed at natural
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                    13   resource injuries, as doing so would stand as an obstacle to the accomplishment and
                    14   execution of the full purposes and objectives of Congress as embodied in OPA. For
                    15   these reasons, Plaintiffs’ Sixth and Eleventh Claims, including the entirety of the
                    16   remedy sought, are preempted and should be dismissed with prejudice.
                    17                                   IV. CONCLUSION
                    18         For the reasons stated above, Defendants respectfully request that the Court
                    19   dismiss the Fourth, Fifth, Sixth, Seventh, Tenth, and Eleventh claims for relief for
                    20   failure to state a claim upon which relief can be granted.
                    21   DATED: December 16, 2015                   DOWNEY BRAND LLP
                    22
                    23                                              By: /s/ William R. Warne
                    24                                                         WILLIAM R. WARNE
                                                                               Attorney for Defendants
                    25                                                       PLAINS ALL AMERICAN
                                                                            PIPELINE, L.P., and PLAINS
                    26                                                             PIPELINE, L.P

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